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     Attorney(s) for Rothschild Patent Imaging, LLC
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 7
                     IN THE UNITED STATES DISTRICT COURT
 8                FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9
     DIGITAL VERIFICATION            §
10   SYSTEMS LLC,                    §             Case No. 3:22-cv-03122
                                     §
11
          Plaintiff,                 §             PATENT CASE
12                                   §
     vs.                             §             JURY TRIAL DEMANDED
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                                     §
14   JOTFORM, INC.                   §
                                     §
15
          Defendant.                 §             COMPLAINT
16   ________________________________§
17
           Plaintiff Digital Verification Systems, LLC (“Plaintiff” and/or “DVS”) files
18
     this Complaint against JotForm, Inc. (“Defendant” and/or “JotForm”) for
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     infringement of United States Patent No. 9,054,860 (hereinafter “the ‘860 Patent”).
20
                              PARTIES AND JURISDICTION
21
           1.     This is an action for patent infringement under Title 35 of the United
22
     States Code. Plaintiff is seeking injunctive relief as well as damages.
23
           2.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331
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     (Federal Question) and 1338(a) (Patents) because this is a civil action for patent
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     infringement arising under the United States patent statutes.
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           3.     Plaintiff is a Texas limited liability company located at 1 East Broward
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     Boulevard, Suite 700, Fort Lauderdale, FL 33301.
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 1          4.     On information and belief, Defendant is a California corporation with its
 2   principal office located at 4 Embarcadero Center, Suite 780, San Francisco, CA
 3   94111. On information and belief, Defendant may be served through its registered
 4   agent, Steve Hartert, of the same address.
 5          5.     On information and belief, this Court has personal jurisdiction over
 6   Defendant because Defendant has committed, and continues to commit, acts of
 7   infringement in this District, has conducted business in this District, and/or has
 8   engaged in continuous and systematic activities in this District.
 9          6.     On information and belief, Defendant’s instrumentalities that are alleged
10   herein to infringe were and continue to be used, imported, offered for sale, and/or sold
11   in this District.
12                                           VENUE
13          7.     On information and belief, the venue is proper in this District under 28
14   U.S.C. § 1400(b) because Defendant is deemed to reside in this District. Alternatively,
15   acts of infringement are occurring in this District, and Defendant has a regular and
16   established place of business in this District.
17                                          COUNT I
18         (INFRINGEMENT OF UNITED STATES PATENT NO. 9,054,860)
19          8.     Plaintiff incorporates paragraphs 1 through 7 herein by reference.
20          9.     This cause of action arises under the patent laws of the United States
21   and, in particular, under 35 U.S.C. §§ 271, et seq.
22          10.    Plaintiff is the owner by assignment of the ‘860 Patent with sole rights
23   to enforce the ‘860 Patent and sue infringers.
24          11.    A copy of the ‘860 Patent, titled “Digital Verified Identification System
25   and Method,” is attached hereto as Exhibit A.
26          12.    The ‘860 Patent is valid, enforceable, and was duly issued in full
27   compliance with Title 35 of the United States Code.
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 1         13.    Upon information and belief, Defendant has infringed and continues to
 2   infringe one or more claims, including at least Claim 1, of the ‘860 Patent by making,
 3   using (at least by having its employees, or someone under Defendant's control, test
 4   the accused Product), importing, selling, and/or offering for sale associated hardware
 5   and/or software for digital signature services (e.g., JotForm electronic-signature), and
 6   any similar products and/or services (“Product”) covered by at least Claim 1 of the
 7   ‘860 Patent. Defendant has infringed and continues to infringe the ‘860 patent either
 8   directly or through acts of contributory infringement or inducement in violation of 35
 9   U.S.C. § 271.
10         14.    The Product provides a system for e-signing digital documents. The
11   Product provides for digitally verifying the identification of a signer. Certain aspects
12   of this element are illustrated in the screenshot(s) below and/or in those provided in
13   connection with other allegations herein.
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           15.    The Product includes at least one digital identification module structured
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     to be associated with at least one entity. For example, the Product provides a module
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     (e.g., the creation of an e-signature module for a user) to be associated with at least
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     one entity (i.e., a user who needs to create an e-signature). Certain aspects of this
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     element are illustrated in the screenshot(s) below and/or in those provided in
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     connection with other allegations herein.
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 1          16.   The Product includes a module generating assembly structured to receive
 2   at least one verification data element corresponding to at least one entity and create
 3   said at least one digital identification module. For example, the Product includes a
 4   module generating assembly structured to receive at least one verification data
 5   element corresponding to at least one entity (e.g., a user has a unique login ID and
 6   password for accessing and verifying the account for e-signing the documents). The
 7   module generating assembly is also structured to create at least one digital
 8   identification module (e.g., creating an e-signature of a user). Certain aspects of this
 9   element are illustrated in the screenshot(s) below and/or in those provided in
10   connection with other allegations herein.
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           17.    at least one digital identification module is disposable within at least one
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     electronic file. (e.g., a user can store the e-signature within a document such as a “Bill
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     of Landing” or in a PDF, Word doc, image file, etc.). Certain aspects of this element
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     are illustrated in the screenshot(s) below and/or in those provided in connection with
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     other allegations herein.
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           18.    at least one digital identification module includes at least one primary
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     component structured to associate the digital identification module at least partially
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     with at least one entity. For example, an e-signature of a user is associated with user
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     information including username, date, etc. to associate the digital identification
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     module at least partially with at least one entity (e.g., an e-signature is associated with
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     a user). Certain aspects of this element are illustrated in the screenshot(s) below
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     and/or in those provided in connection with other allegations herein.
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 1        19. at least one digital identification module is cooperatively structured to be
 2   embedded within only a single electronic file. For example, the module (e-signature)
 3   is stored within a single file (such as a PDF, Word doc, image file, etc.). Certain
 4   aspects of this element are illustrated in the screenshot(s) below and/or in those
 5   provided in connection with other allegations herein.
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             20. Defendant’s actions complained of herein will continue unless
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     Defendant is enjoined by this court.
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           21.    Defendant’s actions complained of herein are causing irreparable harm
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     and monetary damage to Plaintiff and will continue to do so unless and until
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     Defendant is enjoined and restrained by this Court.
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           22.    Plaintiff is in compliance with 35 U.S.C. § 287.
18
                                         JURY DEMAND
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           23.    Under Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff
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     respectfully requests a trial by jury on all issues so triable.
21
                                    PRAYER FOR RELIEF
22
           WHEREFORE, Plaintiff asks the Court to:
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           (a)    Enter judgment for Plaintiff on this Complaint on all causes of action
24
     asserted herein;
25
           (b)    Enter an Order enjoining Defendant, its agents, officers, servants,
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     employees, attorneys, and all persons in active concert or participation with Defendant
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     who receive notice of the order from further infringement of United States Patent No.
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 1   9,054,860 (or, in the alternative, awarding Plaintiff a running royalty from the time of
 2   judgment going forward);
 3         (c)    Award Plaintiff damages resulting from Defendant’s infringement in
 4   accordance with 35 U.S.C. § 284;
 5         (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and
 6         (e)    Award Plaintiff such further relief to which the Court finds Plaintiff
 7   entitled under law or equity.
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 9   Dated: May 27, 2022                    Respectfully submitted,
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                                            /s/Stephen M. Lobbin
11                                          Attorney(s) for Plaintiff
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